                      United States Bankruptcy Court
                     Northern District of California


In re:                                                   Case No. 17-52669

Arturo Estoesta
                                                                Chapter 11

            SECOND AMENDED COMBINED PLAN OF REORGANIZATION
                   AND APPROVED DISCLOSURE STATEMENT
                             (June 18, 2018)

INTRODUCTION

     This is Debtor’s Second Amended Combined Chapter 11 Plan of
Reorganization and Approved Disclosure Statement (the Plan). The
Plan identifies each known creditor by name and describes how
each claim will be treated if the Plan is confirmed.

     Part 1 contains the treatment of creditors with secured
claims; Part 2 contains the treatment of general unsecured
creditors: 100% of their allowed claim in quarterly payments over
3 years. Taxes and other priority claims would be paid in full,
as shown in Part 3.

     Most creditors (those in impaired classes) are entitled to
vote on confirmation of the Plan. Completed ballots must be
received by Debtor’s counsel, and objections to confirmation must
be filed and served, no later than June 7, 2018. The court will
hold a hearing on confirmation of the Plan on July 5, 2018 at
10:30 am.

     Attached to the Plan are exhibits containing financial
information that may help you decide how to vote and whether to
object to confirmation. Exhibit 1 includes background
information regarding Debtor and the events that led to the
filing of the bankruptcy petition and describes significant
events that have occurred during this Chapter 11 case. Exhibit
2 contains an analysis of how much creditors would likely
receive in a Chapter 7 liquidation. Exhibit 3 shows Debtor’s
monthly income and expenses. Exhibit 4 describes how much
Debtor is required to pay on the effective date of the plan.

Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                         (Version 07/30/2012)
June 15, 2018
                                         -1-
Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32    Page 1 of 21
Exhibit 5 shows Debtor’s monthly income and expenses related to
each investment property.

     Whether the Plan is confirmed is subject to complex legal
rules that cannot be fully described here. You are strongly
encouraged to read the Plan carefully and to consult an attorney
to help you determine how to vote and whether to object to
confirmation of the Plan.

     If the Plan is confirmed, the payments promised in the Plan
constitute new contractual obligations that replace the Debtor’s
pre-confirmation debts. Creditors may not seize their
collateral or enforce their pre-confirmation debts so long as
Debtor performs all obligations under the Plan. If Debtor
defaults in performing Plan obligations, any creditor can file a
motion to have the case dismissed or converted to a Chapter 7
liquidation, or enforce their non-bankruptcy rights. Debtor
will be discharged from all pre-confirmation debts (with certain
exceptions) if Debtor makes all Plan payments. Enforcement of
the Plan, discharge of the Debtor, and creditors’ remedies if
Debtor defaults are described in detail in Parts 5 and 6 of the
Plan.


PART 1: TREATMENT OF SECURED CREDITORS


Creditors’ Rights Remain Unchanged.
 Class   Name of Creditor                    Description of Collateral
 1A      HSBC Bank USA, National             2372 Pacheco Drive, San Jose, CA
         Association, as Trustee,            95133
         Serviced by Select Portfolio
         Servicing, Inc. (“SPS”)
 1A      Wells Fargo Bank, NA, as            16813 Daryl Avenue, San Lorenzo, CA
         Trustee, Services by SPS            94580
 1A      U.S. Bank NA, as Trustee,           1561 Yankee Point Court, San Jose, CA
         Serviced by SPS                     95131
 1A      Deutsche Bank National Trust        1750 Fanwood Court, San Jose, CA
         Company, as Trustee, Serviced       95133
         by SPS



      These creditors’ legal, equitable, and contractual rights
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                        -2-

Case: 17-52669   Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 2 of 21
remain unchanged with respect to the above collateral. The
confirmation order will constitute an order for relief from
stay. Creditors in these classes shall retain their interest in
the collateral until paid in full. These secured claims are not
impaired and are not entitled to vote on confirmation of the
Plan.

Debtor to Adjust Terms and Pay Amount Due in Full Over Time.

Class                 1B                1B               1B                  1B

Name of Creditor      Wells Fargo       The Bank of      Real Time           CIT Bank, NA
                      Bank, NA, as      NY Mellon as     Resolutions         Serviced by
                      Trustee,          Trustee,         Inc. as agent       LoanCare LLC
                      Serviced by       Serviced by      for RRA CP
                      SPS               Bayview Loan     Opportunity
                                        Servicing,       Trust Fund
                                        LLC
Collateral            2832 Via          10360            10360               1947 Ensign
                      Encinitas, San    Anderson         Anderson            Way, San
                      Jose, CA 95132    Road, San        Road, San           Jose, CA
                                        Jose CA          Jose CA 95127       95133
                                        95127
Amount Due                              $2,048,196       $280,708.45         $682,987.21

Interest Rate         4,125%            5.25%            3%                  5.25%

Monthly Payment       $3,178.99*        $11,480.16**     $482***             $3,771.48***

Term                  480 months        360 months       480 months          360 months

* The parties entered into a stipulation that was confirmed by the Court
Order Granting Motion To Approve Stipulation to Resolve Use of Cash
Collateral, Adequate Protection Payments, and Plan Treatment on First Lien
Secured by Real Property Located at 2832 Via Encinitas, San Jose, CA 95132
(Docket No. 56) and the terms of the Stipulation shall govern all terms
concerning debt repayment under the plan.

** The parties entered into a stipulation that was confirmed by the Court
Order Approving Stipulation re Treatment of Claim under Debtor’s Proposed
Chapter 11 Plan of Reorganization (Docket No. 76) and the terms of the
Stipulation shall govern all terms concerning debt repayment under the plan.

*** Payments to start on July 1, 2018. The Plan incorporates by reference
the entirety of the terms set forth in the Joint Stipulation Re: Treatment of
Claim under Debtor’s Proposed First Amended Chapter 11 Plan (May 5, 2018)
(Docket No. 86) and order confirming the stipulation (Docket No. 87)
(collectively referred to as the “CIT Stipulation”). To the extent that there
is a conflict between the terms of this Plan and the CIT Stipulation, the
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                              (Version 07/30/2012)
June 15, 2018

                                          -3-

Case: 17-52669     Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 3 of 21
latter shall control.

     Debtor will pay the entire amount contractually due with
interest through 360 or 480 equal monthly payments (as indicated
above), due the 1st day of the month, starting first month after
the date of the plan confirmation, on the above secured claims.
Creditors in these classes shall retain their interest in the
collateral until Debtor makes all payments on the allowed
secured claim specified in the Plan.

     Creditors in these classes may not repossess or dispose of
their collateral so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). These secured claims are
impaired and are entitled to vote on confirmation of the Plan.

     Payments to claimants in these classes may continue past
the date Debtor obtains a discharge. The claimants’ rights
against its collateral shall not be affected by the entry of
discharge, but shall continue to be governed by the terms of
this Plan.



PART 2: TREATMENT OF GENERAL UNSECURED CREDITORS
Class 2(a). Small Claims.
 Name of Creditor           Amount of Claim                Amount to be Paid




     This class includes any creditor whose allowed claim is
$ [number] or less, and any creditor in Class 2(b) whose allowed
claim is larger than $ [number] but agrees to reduce its claim
to $ [number]. Each creditor will receive on the Effective Date
of the Plan a single payment equal to [select one] [the lesser
of its allowed claim or $ [number]] [lesser of    % of its
allowed claim or $ [number]].

     Creditors in this class may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). Claimants in this class
are impaired and are entitled to vote on confirmation of the
Plan, unless their claims are paid in full with interest on the
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                        -4-

Case: 17-52669   Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 4 of 21
Effective Date of the Plan.


Class 2(b). General Unsecured Claims.
 Name of Creditor            Amount of         Disputed    Amount to        Quarterly
                             Claim               Y/N       be Paid          Payment

 Capital One                 $950              N           $950             $79.17
 Rise Capital                $4,500            N           $4,500           $375



     Allowed claims of general unsecured creditors [not treated
as small claims] (including allowed claims of creditors whose
executory contracts or unexpired leases are being rejected under
this Plan) shall be paid as follows:


      Percent Plan. Creditors will receive 100% percent of their
      allowed claim in 12 equal quarterly installments, due on
      the 1st day of the quarter, starting first quarter after
      the plan confirmation date.


     Creditors in this class may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). This class is impaired
and is entitled to vote on confirmation of the Plan. Debtor has
indicated above whether a particular claim is disputed.


PART 3: TREATMENT OF PRIORITY AND ADMINISTRATIVE CLAIMS
(a) Professional Fees.

     Debtor will pay the following professional fees in full on
the Effective Date, or upon approval by the court, whichever is
later.

 Name and Role of Professional                                Estimated Amount
 Law Offices of Oxana Kozlov, legal counsel for the           $18,000 (includes
 estate                                                       retainer paid prior
                                                              to bankruptcy -
                                                              $10,000)
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                             (Version 07/30/2012)
June 15, 2018

                                         -5-

Case: 17-52669   Doc# 89   Filed: 06/18/18     Entered: 06/18/18 10:35:32    Page 5 of 21
     The following professionals have agreed to accept payment
over time as follows. Payments will be made [monthly/
quarterly], due on the [number] day of the [month/quarter],
starting [month & year] or upon approval by the court, whichever
is later.

 Name and Role of Professional        Estimated         Payment          Number of
                                      Amount            Amount           Payments




     Professionals may not take collection action against Debtor
so long as Debtor is not in material default under the Plan
(defined in Part 6(c)). Estate professionals are not entitled
to vote on confirmation of the Plan.

(b) Other Administrative Claims. Debtor will pay other allowed
claims entitled to priority under section 503(b) in full on the
Effective Date; except expenses incurred in the ordinary course
of Debtor’s business or financial affairs, which shall be paid
when normally due and payable (these creditors are not listed
below). All fees payable to the United States Trustee as of
confirmation will be paid on the Effective Date; post-
confirmation fees to the United States Trustee will be paid when
due.

     Administrative Creditors may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). Administrative claimants
are not entitled to vote on confirmation of the Plan.

 Name of Administrative Creditor             Estimated Amount of Claim




(c) Tax Claims. Debtor will pay allowed claims entitled to
priority under section 507(a)(8) in full over time with interest
(at the non-bankruptcy statutory interest rate) in equal
amortizing payments in accordance with section 511 of the
Bankruptcy Code. Payments will be made [monthly/quarterly], due
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                        -6-

Case: 17-52669   Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 6 of 21
on the [number] day of the [month/quarter], starting [month &
year]. To the extent amounts owed are determined to be other
than as shown below, appropriate adjustments will be made in the
number of payments.

     Priority tax creditors may not take any collection action
against Debtor so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). Priority tax claimants
are not entitled to vote on confirmation of the Plan.
 Name of Creditor             Estimated        Statutory      Payment        Number of
                              Amount of        Interest       Amount         Payments
                              Claim            Rate




PART 4:   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
(a) Executory Contracts/Unexpired Leases Assumed. Debtor
assumes the following executory contracts and/or unexpired
leases upon confirmation of this Plan and will perform all pre-
confirmation and post-confirmation obligations thereunder.
Post-confirmation obligations will be paid as they come due.
Pre-confirmation arrears will be paid [select one] [in full on
the Effective Date] in [number] equal [monthly/quarterly]
installments beginning on the first day of [month & year].

 Name of         Description of       Estimated         Installment      Number of
 Counter-        Contract/Lease       Total Cure        Amount           Installments
 Party                                Amount




(b) Executory Contracts/Unexpired Leases Rejected. Debtor
rejects the following executory contracts and/or unexpired
leases and surrenders any interest in the affected property, and
allows the affected creditor to obtain possession and dispose of
its property, without further order of the court. Claims
arising from rejection of executory contracts have been included
in Class 2 (general unsecured claims).

 Name of Counter-Party                        Description of Contract/Lease
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                             (Version 07/30/2012)
June 15, 2018

                                         -7-

Case: 17-52669    Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 7 of 21
(c) Executory contracts and unexpired leases not specifically
assumed or rejected above will be deemed assumed.


PART 5: DISCHARGE AND OTHER EFFECTS OF CONFIRMATION
(a) Discharge. Debtor shall not receive a discharge of debts
until Debtor makes all payments due under the Plan or the court
grants a hardship discharge.

(b) Vesting of Property. On the Effective Date, all property
of the estate and interests of the Debtor will vest in the
reorganized Debtor pursuant to § 1141(b) of the Bankruptcy Code
free and clear of all claims and interests except as provided in
this Plan, subject to revesting upon conversion to Chapter 7 as
provided in Part 6(f) below.

(c) Plan Creates New Obligations. Except as provided in
Part 6(d) and (e), the obligations to creditors that Debtor
undertakes in the confirmed Plan replace those obligations to
creditors that existed prior to the Effective Date of the Plan.
Debtor’s obligations under the confirmed Plan constitute binding
contractual promises that, if not satisfied through performance
of the Plan, create a basis for an action for breach of contract
under California law. To the extent a creditor retains a lien
under the Plan, that creditor retains all rights provided by
such lien under applicable non-Bankruptcy law.


PART 6: REMEDIES IF DEBTOR DEFAULTS IN PERFORMING THE PLAN
(a) Creditor Action Restrained. The confirmed Plan is binding
on every creditor whose claims are provided for in the Plan.
Therefore, even though the automatic stay terminates on the
Effective Date with respect to secured claims, no creditor may
take any action to enforce either the pre-confirmation
obligation or the obligation due under the Plan, so long as
Debtor is not in material default under the Plan, except as
provided in Part 6(e) below.

(b) Obligations to Each Class Separate. Debtor’s obligations
under the Plan are separate with respect to each class of
Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                        -8-

Case: 17-52669   Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 8 of 21
creditors. Default in performance of an obligation due to
members of one class shall not by itself constitute a default
with respect to members of other classes. For purposes of this
Part 6, the holders of all administrative claims shall be
considered to be a single class, the holders of all priority
claims shall be considered to be a single class, and each non-
debtor party to an assumed executory contract or lease shall be
considered to be a separate class.

(c) Material Default Defined. If Debtor fails to make any
payment, or to perform any other obligation required under the
Plan, for more than 10 days after the time specified in the Plan
for such payment or other performance, any member of a class
affected by the default may serve upon Debtor and Debtor’s
attorney (if any) a written notice of Debtor’s default. If
Debtor fails within 30 days after the date of service of the
notice of default either: (i) to cure the default; (ii) to
obtain from the court an extension of time to cure the default;
or (iii) to obtain from the court a determination that no
default occurred, then Debtor is in Material Default under the
Plan to all the members of the affected class.

(d) Remedies Upon Material Default. Upon Material Default, any
member of a class affected by the default: (i) may file and
serve a motion to dismiss the case or to convert the case to
Chapter 7; or (ii) without further order of the court has relief
from stay to the extent necessary, and may pursue its lawful
remedies to enforce and collect Debtor’s pre-confirmation
obligations.

(e) Claims not Affected by Plan. Upon confirmation of the
Plan, and subject to Part 5(c), any creditor whose claims are
left unimpaired under the Plan may, notwithstanding paragraphs
(a), (b), (c), and (d) above, immediately exercise all of its
contractual, legal, and equitable rights, except rights based on
default of the type that need not be cured under section
1124(2)(A) and (D).

(f) Effect of Conversion to Chapter 7. If the case is at any
time converted to one under Chapter 7, property of the Debtor
shall vest in the Chapter 7 bankruptcy estate to the same extent
provided for in section 348(f) of the Bankruptcy Code upon the
conversion of a case from Chapter 13 to Chapter 7.

Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                        -9-

Case: 17-52669   Doc# 89   Filed: 06/18/18    Entered: 06/18/18 10:35:32    Page 9 of 21
(g) Retention of Jurisdiction. The bankruptcy court may
exercise jurisdiction over proceedings concerning: (i) whether
Debtor is in Material Default of any Plan obligation; (ii)
whether the time for performing any Plan obligation should be
extended; (iii) adversary proceedings and contested matters
pending as of the Effective Date or specifically contemplated in
this Plan to be filed in this court (see Part 7(f)); (iv)
whether the case should be dismissed or converted to one under
Chapter 7; (v) any objections to claims; (vi) compromises of
controversies under Fed. R. Bankr. Pro. 9019; (vii) compensation
of professionals; and (viii) other questions regarding the
interpretation and enforcement of the Plan.


PART 7: GENERAL PROVISIONS
(a) Effective Date of Plan. The Effective Date of the Plan is
the fifteenth day following the date of the entry of the order
of confirmation, if no notice of appeal from that order has been
filed. If a notice of appeal has been filed, Debtor may waive
the finality requirement and put the Plan into effect, unless
the order confirming the Plan has been stayed. If a stay of the
confirmation order has been issued, the Effective Date will be
the first day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation
order has not been vacated.

(b) Disputed Claim Reserve. Debtor will create a reserve for
disputed claims. Each time Debtor makes a distribution to the
holders of allowed claims, Debtor will place into a reserve the
amount that would have been distributed to the holders of
disputed claims if such claims had been allowed in the full
amount claimed. If a disputed claim becomes an allowed claim,
Debtor shall immediately distribute to the claimant from the
reserve an amount equal to all distributions due to date under
the plan calculated using the amount of the allowed claim. Any
funds no longer needed in reserve shall be [select one]
[returned to Debtor] [distributed pro-rata among allowed claims
in this class].

(c) Cramdown. Pursuant to section 1129(b) of the Bankruptcy
Code, Debtor reserves the right to seek confirmation of the Plan
despite the rejection of the Plan by one or more classes of
creditors.

Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                        (Version 07/30/2012)
June 15, 2018

                                      - 10 -

Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32    Page 10 of
                                         21
(d) Severability. If any provision in the Plan is determined
to be unenforceable, the determination will in no way limit or
affect the enforceability and operative effect of any other
provision of the Plan.

(e) Governing Law. Except to the extent a federal rule of
decision or procedure applies, the laws of the State of
California govern the Plan.

(f)   Lawsuits.

     Debtor believes that causes of action for fraudulent
transfers, voidable preferences, or other claims for relief
exist against the following parties:

      Party         Creditor       Nature of        Amount of        Will Debtor
                      Y/N            Claim            Claim           Prosecute
                                                                       Action?
                                                                         Y/N




(g) Notices. Any notice to the Debtor shall be in writing, and
will be deemed to have been given three days after the date sent
by first-class mail, postage prepaid and addressed as follows:

      Oxana Kozlov, Esq.
      649 Dunholme Way
      Sunnyvale, CA 94087


(h) Post-Confirmation United States Trustee Fees. Following
confirmation, Debtor shall continue to pay quarterly fees to the
United States Trustee to the extent, and in the amounts,
required by 28 U.S.C. § 1930(a)(6). So long as Debtor is
required to make these payments, Debtor shall file with the
court quarterly reports in the form specified by the United
States Trustee for that purpose.

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Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                        (Version 07/30/2012)
June 15, 2018

                                      - 11 -

Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32    Page 11 of
                                         21
(i) Deadline for § 1111(b) Election. Creditors with an allowed
secured claim can make a timely election under section 1111(b)
no later than 14 days before the first date set for the hearing
on confirmation of the Plan.



Dated: June 18, 2018


                                               __/s/ Arturo Estoesta_________________
                                               Debtor

                                               ______________________________
                                               Debtor

                                               __/s/ Oxana Kozlov___________________
                                               Attorney for Debtor




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                            (Version 07/30/2012)
June 15, 2018

                                      - 12 -

Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32        Page 12 of
                                         21
Attorney Certification

     I, Oxana Kozlov, am legal counsel for the Debtor(s) in the
above-captioned case and hereby certify the following: (i) the
foregoing plan is a true and correct copy of the Individual
Chapter 11 Combined Plan and Disclosure Statement promulgated by
the Northern District of California, San Francisco Division, on
July 30, 2012 (the “Standard-Form Plan”); and (ii) except as
specified below, there have been no alterations or modifications
to any provision of the Standard-Form Plan.
     The following provisions of the Standard-Form Plan have been
altered or otherwise modified.
     The following clarification was added under Table “Debtor to
Adjust Terms and Pay Amount Due in Full Over Time” on page 3,
line 19, to clarify terms of the Table:
* The parties entered into a stipulation that was confirmed by the Court Order
Granting Motion To Approve Stipulation to Resolve Use of Cash Collateral,
Adequate Protection Payments, and Plan Treatment on First Lien Secured by Real
Property Located at 2832 Via Encinitas, San Jose, CA 95132 (Docket No. 56) and
the terms of the Stipulation shall govern all terms concerning debt repayment
under the plan.

** The parties entered into a stipulation that was confirmed by the Court
Order Approving Stipulation re Treatment of Claim under Debtor’s Proposed
Chapter 11 Plan of Reorganization (Docket No. 76) and the terms of the
Stipulation shall govern all terms concerning debt repayment under the plan.

*** The Plan incorporates by reference the entirety of the terms set forth in
the Joint Stipulation Re: Treatment of Claim under Debtor’s Proposed First
Amended Chapter 11 Plan (May 5, 2018) (Docket No. 86) and order confirming the
stipulation (Docket No. 87) (collectively referred to as the “CIT
Stipulation”). To the extent that there is a conflict between the terms of
this Plan and the CIT Stipulation, the latter shall control.

     The following comment was added on page 20, line 2 of
Schedule 5 (“Investment Property Analysis”):

      The rental income numbers below were adjusted due to rent increase
       effective May 2018.

   I declare that the foregoing is true and correct.                  Executed
this __18___ day of _____June_______, 20_18___.

                                                /s/   Oxana Kozlov

                                               Attorney for Debtor(s)

Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                          (Version 07/30/2012)
June 15, 2018

                                      - 13 -

Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32      Page 13 of
                                         21
Exhibit 1 - Events That Led To Bankruptcy

The Debtor owns a number of rental properties in the County of
Santa Clara. He has been current on his mortgage obligations on
4 of his properties but was in default on his mortgage
obligations for 3 of his properties. It was the imminent
foreclosure on those properties that led to this bankruptcy
filing.




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                        (Version 07/30/2012)
June 15, 2018

                                     - 14 -

Case: 17-52669   Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32    Page 14 of
                                         21
Exhibit 2 - What Creditors Would Receive if the Case Were
Converted to a Chapter 7

Real Property #1: 2372 Pacheco Drive, San Jose, CA 95133

 Fair Market            Liens         Cost of          Resulting         Amt of         Net
    Value                              Sale           Income Tax       Exemption     Proceeds

 $637,128        1st   $538,001    $38,200            0            0                $60,927


Real Property #2: 16813 Daryl Ave., San Lorenzo, CA 94580

 Fair Market            Liens         Cost of          Resulting         Amt of         Net
    Value                              Sale           Income Tax       Exemption     Proceeds

 $607,303        1st               $36,000            0            0                $67,283
                 $504,020


Real Property #3: 1561 Yankee Point Court, San Jose, CA 95131

 Fair Market            Liens         Cost of          Resulting         Amt of         Net
    Value                              Sale           Income Tax       Exemption     Proceeds

 $1,110,924      1st   $571,047    $66,000            $100,000     0                $626,123


Real Property #4: 1750 Fanwood Court, San Jose CA 95133

 Fair Market            Liens         Cost of          Resulting         Amt of         Net
    Value                              Sale           Income Tax       Exemption     Proceeds

 $1,181,950      1st   $476,642    $71,000            $140,000     0                $565,308


Real Property #5: 1947 Ensign Way, San Jose, CA 95133

 Fair Market            Liens         Cost of          Resulting         Amt of         Net
    Value                              Sale           Income Tax       Exemption     Proceeds

 $1,414,315      1st   $682,025    $84,850            $150,000     0                $497,431


Real Property #6: 2832 Via Encinitas, San Jose CA 95133



Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                                   (Version 07/30/2012)
June 15, 2018

                                             - 15 -

Case: 17-52669         Doc# 89    Filed: 06/18/18 Entered: 06/18/18 10:35:32        Page 15 of
                                                21
 Fair Market            Liens         Cost of           Resulting          Amt of            Net
    Value                              Sale            Income Tax        Exemption        Proceeds

 $974,254        1st $742,663      $58,500             $50,000       0                $123,091



Real Property #7: 10360 Anderson Road, San Jose CA 95127

 Fair Market            Liens         Cost of           Resulting          Amt of            Net
    Value                              Sale            Income Tax        Exemption        Proceeds

                 1st               $128,500            0             0                0
 $2,141,828      $2,078,972

                 2nd   $280,708


Personal Property:
           Description              Liquidation            Secured      Amt of              Net
                                       Value                Claim     Exemption          Proceeds
 Cash                                                                                $22,100
 Automobile #1 (Lexus              $3,000              0             $3,000          0
 LX470)
 Automobile #2 (Mercedes           $1,000              0             $1,000          0
 SLK320)
 Automobile #3                     $1,000              0             $1,000          0
 (Mitsubishi Montero)
 Automobile #4 (Mercedes           $750                0             $350            $450
 300E)
 Automobile #5 (Lexus              $500                0             0               $500
 ES300)
 Household Furnishings             $2,500              0             $2,500          0
 Jewelry                           $3,000              0             $1600           $1,400
 Equipment
 Stocks / Investments:             $111,000            0             0               $111,000
 Apple Stock Purchase
 Plan eTrade Account




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                                     (Version 07/30/2012)
June 15, 2018

                                              - 16 -

Case: 17-52669         Doc# 89    Filed: 06/18/18 Entered: 06/18/18 10:35:32             Page 16 of
                                                21
 Other Personal Property:
 Debtor’s Apple 401(k)        $95,100             0       $95,100         0
 Debtor’s WF IRA account      $204,200            0       $204,200        0
 Wife’s Retirement            $1,330,750          0       $1,330,750      0
 Accounts
 IRA Life Insurance           $185,450            0       $185,450        0
 Surrender Value
 TOTAL                                                                    $135,450


 Net Proceeds of Real Property and Personal Property                      $2,014,692
 Recovery from Preferences / Fraudulent Conveyances                       0
 Chapter 7 Administrative Claims                           [SUBTRACT]     0
 Chapter 11 Administrative Claims                          [SUBTRACT]     $8,000
 Priority Claims                                           [SUBTRACT]     0
 Chapter 7 Trustee Fees                                    [SUBTRACT]     0
 Chapter 7 Trustee’s Professionals                         [SUBTRACT]     0
 NET FUNDS AVAILABLE FOR DISTRIBUTION TO UNSECURED CREDITORS              $2,006,692


 Estimated Amount of Unsecured Claims
 Percent Distribution to Unsecured Creditors Under Proposed Plan                   100%
 Percent Distribution to Unsecured Creditors Under Liquidation                     100%
 Analysis



Exhibit 3 - Monthly Income and Expenses

 Income                                                                       Amount
 Gross Employment Income                                                  $7,932
 Gross Business Income                                                    0
 Social   Security                                                        $4,418

 Positive Cash Flow on Investment Property (Exhibit 5, Line A)            $2,111
 A. Total Monthly Income                                                  $14,461


 Expenses                                                                     Amount
 Includes Plan Payments on Secured Claims for Residence and Car
 Payroll Taxes and Related Withholdings                                   $2,170


Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                          (Version 07/30/2012)
June 15, 2018

                                         - 17 -

Case: 17-52669     Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32       Page 17 of
                                           21
 Retirement Contributions (401k, IRA, PSP)                                $1,500

 Shelter Expenses (rent/mortgage, insurance, taxes, utilities)            $3,200
 (Total Arrearages on Principal Residence are $_0______)
 Household Expenses (food)                                                $800

 Transportation Expenses (car payments, insurance, fuel)                  $450
 Personal Expenses (e.g. recreation, clothing, laundry, medical)
 Alimony / Child Support
 AT&T and wireless                                                        $220
 Negative Cash Flow on Investment Property (Exhibit 5, Line B)            $3,977
 B. Total Monthly Expenses                                                $12,317


 C. Disposable Income (Line A - Line B)                                   $2,144


 Plan Payments                                                                Amount
 Plan Payments Not Included in Calculating Disposable Income
 Administrative Claims                                                    0

 Priority Claims                                                          0

 General Unsecured Creditors
 [OTHER PLAN PAYMENTS - DESCRIBE]
 D. Total Plan Payments                                                   $245


 E. Plan Feasibility (Line C - Line D)                                    $1,754
 (Not feasible if less than zero)




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                          (Version 07/30/2012)
June 15, 2018

                                       - 18 -

Case: 17-52669     Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32       Page 18 of
                                           21
Exhibit 4 - Effective Date Feasibility

Can the Debtor Make the Effective Day Payments?
                                                               Amount       Amount
 A. Projected Total Cash on Hand on Effective Date                        $22,100
    Payments on Effective Date
      Unclassified Claims                                  0
      Administrative Expense Claims                        $8,000
      Priority Claims                                      0
      Small Claims (Class 2(a))                            0

      U.S. Trustee Fees                                    $925
 B. Total Payments on Effective Date                                      $8,925

 C. Net Cash on Effective Date (Line A - Line B)                          $13,175
 (Not feasible if less than zero)




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                         (Version 07/30/2012)
June 15, 2018

                                       - 19 -

Case: 17-52669   Doc# 89    Filed: 06/18/18 Entered: 06/18/18 10:35:32    Page 19 of
                                          21
Exhibit 5 - Investment Property Analysis*
      The rental income numbers below were adjusted due to rent increase
       effective May 2018.

Properties with Positive Monthly Cash-Flow:

Real Property #1 Income: 2372 Pacheco Drive, San Jose, CA 95133

   Rental          Mortgage         Insurance        Property       Other        Net Income
   Income                                              Taxes      Expenses

 $3,100          1st              $94.88            $279.94     Utilities -      $295
                 $2,080.37                                      $350



Real Property #2 Income: 16813 Daryl Ave., San Lorenzo, CA 94580

   Rental          Mortgage         Insurance        Property       Other        Net Income
   Income                                              Taxes      Expenses

 $2,900          1st              $40.43            $516.11                      $943
                 $1,400.27


Real Property #3 Income: 1561 Yankee Point Court, San Jose, CA
95131

   Rental          Mortgage         Insurance        Property       Other        Net Income
   Income                                              Taxes      Expenses

 $3,100          1st              $63.68            $268.52                      $530
                 $2,237.62


Real Property #4 Income: 1750 Fanwood Court, San Jose CA 95133

   Rental          Mortgage         Insurance        Property       Other        Net Income
   Income                                              Taxes      Expenses

 $3,840          1st    $2,011    $89               $677        Utilities -      $343
                                                                $720




 A. Total Positive Cash Flow                                                    $2,111

Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                                (Version 07/30/2012)
June 15, 2018

                                           - 20 -

Case: 17-52669         Doc# 89   Filed: 06/18/18 Entered: 06/18/18 10:35:32      Page 20 of
                                               21
Properties with Negative Monthly Cash-Flow:


Real Property #5 Income: 2832 Via Encinitas, San Jose CA 95133

    Rental           Mortgage        Insurance        Property       Other        Net Income
    Income                                              Taxes      Expenses

 $3,680          1st   $3,179      $311              $616                         -$426


Real Property #6 Income: 1947 Ensign Way, San Jose, CA 95133

    Rental           Mortgage        Insurance        Property       Other        Net Income
    Income                                              Taxes      Expenses

 $ 3840          1st    $3,771     $100              $960                         -$991


Real Property #7 Income: 10360 Anderson Road, San Jose CA 95127

    Rental           Mortgage        Insurance        Property       Other        Net Income
    Income                                              Taxes      Expenses

 $12,000         1st    $11,480    $120              $2,478                       -$2,560
                 2nd
                        $482


 B. Total Negative Cash Flow                                                     -$3,977




Individual Chapter 11
Second Amended Combined Plan & Disclosure Statement
                                                                 (Version 07/30/2012)
June 15, 2018

                                            - 21 -

Case: 17-52669         Doc# 89    Filed: 06/18/18 Entered: 06/18/18 10:35:32      Page 21 of
                                                21
